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                                EXHIBIT A
      MAPP.01.05.01 in effect from December 12, 2024 through May 29, 2024
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                                   UNIVERSITY of HOUSTON
                        MANUAL OF ADMINISTRATIVE POLICIES AND PROCEDURES


SECTION:            General Information                                                    Number:         01.05.01
AREA:               Legal Affairs


            SUBJECT:         Freedom of Expression


I.          PURPOSE AND SCOPE

            The University of Houston is committed to fostering a learning environment where free inquiry and
            expression are encouraged. The University expects that persons engaging in expressive activities
            will demonstrate civility, concern for the safety of persons and property, respect for University
            activities, respect for those who may disagree with their message, and compliance with University
            policies and applicable local, state, and federal laws. The University of Houston maintains its right
            to place reasonable time, place, and manner restrictions on expressive activities. Additionally, any
            activities that are unlawful or materially and substantially disruptive to the normal operations of the
            University, will not be tolerated. The purpose of this policy is to provide for expressive activities to
            be conducted on University grounds in a manner consistent with these principles. Groups of
            individuals engaging in disruptive activities or failing to comply with University policies and applicable
            local, state, and federal laws may face immediate removal from the campus and/or other appropriate
            actions by University officials and University police.

II.         POLICY

            This policy is applicable to any non-curriculum related expressive activities at locations on
            University grounds. This policy does not apply to any official University event or activity, except as
            noted. Common outdoor areas of the University are deemed traditional public forums. Therefore,
            those who wish to engage in an expressive activity (including literature distribution) may engage in
            such expressive activity in the University’s common areas (e.g., University parks, grassy areas, and
            sidewalks) without prior registration or approval.

            If any area on the University grounds has been reserved pursuant to Section V below, the individual
            or group who reserved the area has priority for use of the area. If an expressive activity attracts an
            audience of 50 or more people, substantially disrupts University business or classes, blocks building
            access, or creates vehicular, pedestrian, or other traffic hazards, the expressive activity may be
            required to relocate to another area on campus that can better accommodate the large group or type
            of activity.

            University buildings are reserved for use by University of Houston students, faculty, and staff, except
            as provided herein, or otherwise permitted by policies of the University. Non-permitted commercial
            activities (as defined in Section III.A of this policy) are not allowed. Expressive activities permitted
            under this policy do not imply official endorsement by the University. Decisions to be made by
            University officials under this policy will be based on the guidelines set forth in this policy and in SAM
            01.D.15 – Freedom of Expression. Decisions will not be based on the content or viewpoint of a
            proposed expressive activity. Groups or individuals engaged in expressive activities are responsible
            for the content of the expression. Questions regarding this policy may be directed to the Dean of
            Students Office.

III.        DEFINITIONS

            A.      Amplified sound: The use of any loudspeaker, loudspeaker system, sound amplifier or any
                    other machine or device which produces, reproduces, or amplifies sound.

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        B.       Decibel level: The intensity of sound expressed in decibels read from the A-level weighting
                 scale and the slow meter response as specified by the American National Standards
                 Institute.

        C.       Non-permitted commercial activities: The use of the University’s facilities and/or grounds
                 by the University of Houston students, faculty, and staff for personal gain including
                 distribution or posting of commercial literature or other items on campus for personal gain.
                 Non-permitted commercial activities also include commercial use of University space by
                 non-University affiliated individuals or groups where such use is not authorized by a written
                 agreement with the University (See MAPP 09.03.01).

        D.       Expressive activity: Any non-curriculum related rally, parade, demonstration, stationary
                 structure or display, concert or other expressive activity, including literature distribution.

        E.       Official University event or activity: Any event, program or activity sponsored by a
                 University department in the course of fulfilling their University mission, activities that occur
                 within the classroom, or events that occur within the regular or recurring sphere of activity
                 of a University department.

        F.       Registered student organization:       A student organization officially registered with the
                 Center for Student Involvement.

        G.       Sign: A billboard, placard, or other writing, drawing, picture, projected image, or similar
                 item displayed for the purpose of promoting events or activities or to convey a message or
                 information of any type.

        H.       University: The University of Houston.

        I.       University department: Any academic or nonacademic unit or division or any other official
                 University entity.

        J.       University grounds: Any outdoor University-owned, leased, or maintained grounds located
                 on the University’s main campus, excluding all buildings and structures.

IV.     RESERVATION OF OUTDOOR SPACE

        University of Houston faculty, staff, students, and members of registered student organizations may
        reserve the outdoor areas listed in Section V in advance to conduct expressive activities in
        accordance with this section. Non-University affiliated individuals or groups are only eligible to
        reserve Lynn Eusan Park (for a fee) and must follow the procedures below to do so. Individuals or
        groups must request the use of outdoor space through the Conference and Reservation Services
        Office. Reservations are accepted on a first-come first-served basis. Each outdoor space for any
        single user, be it a reserving group or individual, can be reserved for a total of three days in any
        two-week period, but overnight reservation of outdoor space is not allowed. The requesting group
        or individual seeking to reserve outdoor space pursuant to this section must submit a completed
        Expressive Activity Description Form (“Form”) to the Dean of Students at least seven business days
        in advance of the proposed expressive activity. Absent extenuating circumstances, the Dean of
        Students or designee will approve or deny the proposed expressive activity within five business
        days of receiving the Form. In completing the Form, the following information will be required (Items
        A-L included on the Form):

        A.       Date of application;

        B.       Proposed date(s) of the expressive activity;


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       C.       Proposed start and finish times;

       D.       Proposed location;

       E.       Name of the activity;

       F.       Anticipated attendance;

       G.       Target audience(s);

       H.       Advertising methods;

       I.       Expressive activity description (i.e., speech, rally, open microphone, display, literature
                distribution, etc.);

       J.       Campus sponsoring organization name and. If any, external sponsoring organization name
                (co-sponsor);

       K.       Contact person name, phone number, and e-mail address; and

       L.       Applicant’s signature.

       The decision as to whether to approve or deny the reservation request will be based on proper and
       timely completion of the Form, compliance with the applicable sound and sign requirements, and
       availability of space. This decision will be based only on the aforementioned criteria, and in no
       circumstances will any decision be based on the content or viewpoint of the expressive activity, or
       upon the expected reaction of others to the expression, except as permitted by law.

       The requesting group or individual, if they so desire, may appeal the Dean of Students’ or
       designee’s decision in writing to the Vice President of Student Affairs and Enrollment Services
       within two business days of the decision. The Vice President of Student Affairs and Enrollment
       Services will render a decision within two business days or receiving an appeal. Requestors are
       encouraged to submit their reservation requests as early as possible to allow time after the approval
       process to prepare for their activities.

       The Dean of Students or designee may require an expressive activity to relocate if: (1) the
       anticipated or actual number of persons attending the event exceeds the reasonable capacity of
       the space intended for use and, therefore, materially interferes with the educational mission of the
       University; or (2) the activity potentially conflicts with previously scheduled activities and events.

V.     OUTDOOR EXPRESSIVE ACTIVITY AREAS THAT MAY BE RESERVED IN ADVANCE

       The areas marked A, B, C, D, E, and F on the campus map (Addendum A) and provided below are
       the six (6) outdoor expressive activity areas that may be reserved in advance. These six areas
       may also be used for expressive activity without a reservation; however, an individual or group with
       a reservation will have exclusive use and priority over other individuals or groups.

       A.       Lynn Eusan Park: The park area located northwest of the Hilton College of Hotel and
                Restaurant Management and southeast of the Ezekiel Cullen Building (Area A on the
                campus map). This is the only area of the six areas that is available for non-University
                affiliated individuals or groups to reserve and such individuals or groups must pay any
                applicable fees.

       B.       Student Center Plaza: The paved area located on the western half of the space between
                Student Center South and Student Center North (Area B on the campus map).



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        C.      Student Center North Lawn: The area located on the north side of the Student Center
                North, surrounded by the M.D. Anderson Library to the west, University Classroom and
                Business Building to the north and Melcher Hall to the east (Area C on the campus map).

        D.      Butler Plaza: The plaza bounded by the Ezekiel Cullen Building, M. D. Anderson Library,
                the Technology Annex, and Phillip G. Hoffman Hall (Area D on the campus map).

        E.      Cougar Woods Arboretum: The grassy area located west of the Cougar Woods Dining
                Hall between the Dining Hall and Cullen Boulevard (Area E on the campus map).

        F.      Student Center Circle: The area in front of the Student Center South (Area F on the
                campus map).

VI.     USE OF AMPLIED SOUNDS AND STATIONARY STRUCTURES/DISPLAYS

        A.      Stationary Structures/Displays: Expressive activities involving the use of stationary
                structures or displays are permitted only from 7:00 a.m. to 7:00 p.m. and only in the
                reservable areas (See Section V) marked A, B, C, D, E, and F on the campus map.

                Stationary structures or displays must be kept at least five feet from all walkways.

                In no circumstances may any stationary display or structure exceed fifteen feet in length,
                width, or height, nor may any display or structure present a significant threat to public
                safety. The requesting group or individual may apply for a limited exception to these size
                restrictions, which the University shall grant only upon a compelling demonstration to the
                University that the proposed structure or display will be safe, will pose no significant safety
                hazard, and will not unduly restrict the egress or ingress of students, faculty, or staff. Any
                such request for a size exception must be made at least ten business days in advance. A
                student, faculty member, or staff member responsible for the structure or display must
                remain with it at all times.

        B.      Amplified Sound: The use of amplified sound is only permitted in the reservable areas (see
                Section V) marked A, B, C, E, and F on the campus map, but is not permitted in Butler
                Plaza (Area D on the campus map). Amplified sounds may only occur from 11:30 a.m. to
                1:30 p.m. and from 4:00 p.m. to midnight on class days, and from 8:00 a.m. to midnight on
                non-class days. Amplified sounds shall not exceed 75 decibels levels.

                Amplified sound will be measured at the edges of the surrounding buildings. For the
                purposes of this policy, dB shall mean the intensity of sound expressed in decibels read
                from the A-level weighting scale and the slow meter response as specified by the American
                National Standards Institute.

VII.    LITERATURE DISTRIBUTION

        All literature distribution must comply with the following rules:

        A.      Persons distributing information at reserved information table locations must remain within
                their reserved table space and displays at reserved information table locations do not
                exceed beyond the dimensions of the width reserved table space and may not exceed
                seven feet in height.

        B.      Literature or other printed materials must be distributed in person.

        C.      Literature or other printed materials must not be forced upon others.

        D.      The free flow of pedestrian, vehicular, or other traffic must not be obstructed at any point.


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        E.      Groups or individuals are responsible for ensuring that literature/printed materials do not
                litter the area.

        F.      Literature/printed materials must not promote non-permitted commercial activities.

        Registered student organizations may reserve information tables located in the Phillip G. Hoffman
        (PGH) Building Breezeway, the Agnes Arnold (AH) Building Breezeway, and the Student Center
        Information tables in between the Student Center South and the Student Center North for the
        purpose of distributing literature/printed materials or for other permitted activities. Designed
        representatives of registered student organizations wishing to reserve these information tables
        must request the use of space through the Conference and Reservation Services Office. Amplified
        sound of any type is prohibited in the PGH Breezeway, the AH Breezeway, Student Center
        Information tables in between the Student Center South and the Student Center North.

        This section does not apply to literature/printed material distribution related to a vote for or against
        a candidate for elective University of Houston Student Government Association (SGA) office or for
        or against a proposition on a ballot at an SGA election. Such distribution by registered University
        of Houston students may take place in areas immediately adjacent to SGA polling locations and
        must comply with the rules cited in the SGA Election Code.

        The posting of flyers on outside university kiosks by University of Houston registered student
        organizations, campus departments, faculty members, staff members, and students is governed
        by MAPP 03.01.05.

        Individuals, groups, or representatives of non-University affiliated entities wishing to reserve
        information tables must request the use of space through the Conference and Reservation Services
        Office. The reservation for the use of space is subject to applicable usage fees and associated
        charges.

VIII.   SIGNS POSTED ON UNIVERSITY GROUNDS

        The only types of signs that may be placed on University grounds are those that are sponsored by
        a University department and promote official University-sponsored events or activities. Signs may
        not be attached to University property (e.g., buildings, light poles, benches.) University departments
        wishing to display signs on University grounds that promote official University activities and events
        must obtain approval from the Dean of Students or designee at least seven business days prior to
        the proposed display. Signs will be subject to reasonable time, place, and manner restrictions and
        must include the name of the University department sponsoring the activity that it promotes.

IX.     TIME, PLACE AND MANNER RESTRICTIONS

        A.      The President or designated University representatives shall have the authority to take
                such steps to prevent expressive activities that materially interfere with the educational
                mission of the University. Further, activities that are unlawful or that materially and
                substantially disrupt the normal operations of the University campus are prohibited.
                Prohibited activities include, but are not limited to, the following:

                1. Activities that are unlawful or that materially and substantially disrupt the normal
                   operations of the university.

                2. Activities that materially and substantially prevent other individuals or groups from
                   carrying out an expressive activity.

                3. Activities that substantially interfere with vehicular or pedestrian traffic including
                   the ingress or egress of university facilities.


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                4. Activities that substantially interfere with fire protection, law enforcement, or
                   emergency or medical services.

                5. Activities that threaten or endanger the health or safety of any person on university
                   grounds.

                6. Activities that result in damage or destruction of university property. Nothing may
                   be affixed to or written on university property or grounds.

                7. Activities that inherently lose First Amendment protection (e.g., defamatory
                   statements, true threats/fighting words, obscenity [as defined by law])

                8. Expressive signage, posters, displays, or structures (herein “displays”) larger than
                   3 feet in height by 3 feet in width. Displays, literature, and other items may not be
                   left unattended.

                9. Open flames on the university campus without the express written permission of
                   the university.

                10. Any activities that are subject to licensing, code, or ordinance
                    requirements/permits must have the proper licenses/permits and satisfy such
                    codes and ordinances (e.g., serving food and beverages).

        B.      The University recognizes that some constitutionally-protected speech may be considered
                offensive by some or all listeners. An Expressive Activity does not automatically rise to the
                level of denying constitutional, statutory, or legal rights of others, solely because a listener
                is offended by the argument or idea presented. However, expressive activities that interfere
                with the legal rights of others will not be tolerated, and will be disciplined according to
                appropriate University policies, including, but not limited to SAM 01.D.07 – Anti-
                Discrimination Policy, and SAM 01.D.08 – Sexual-Misconduct Policy.

X.      ENFORCEMENT

        A.      Grievances – Complaints of a violation under this policy may be made as follows:

                -   Members of the university community may file a grievance regarding an alleged
                    violation of this policy in the manner provided in the applicable UH Student Code of
                    Conduct, Student Handbook, University Catalog, Faculty Handbook, or
                    employee/personnel manual.

                Alternatively, any complaints of a violation under this policy may be made through the
                University of Houston System Fraud & Non-compliance Hotline.

        B.      Disciplinary Actions – Any person that participates in unlawful expressive activity, or that
                unduly interferes with the Expressive Activities of others on campus, including at an Official
                University Events or Activity, may be subject to disciplinary action, as outlined in the
                student codes of conduct, in policies relating to faculty or staff discipline, or in policies or
                laws relating to visitors on campus.

XI.     REVIEW AND RESPONSIBILITY

        Responsible Party:       Vice President for Legal Affairs and General Counsel

                                 Associate Vice President for Student Affairs and Dean of Students


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        Review:                  Every five years

XII.    APPROVAL


                /Daniel M. Maxwell/
        Interim Vice President for Student Affairs


                /Dona Cornell/
        Vice President for Legal Affairs and General Counsel


               /Renu Khator/
        President


        Date of President’s Approval:    December 12, 2023

XIII.   REFERENCES AND RESOURCES


        Texas Education Code § 51.9315 – Protected Expression on Campus
        SAM 01.D.15 – Freedom of Expression
        MAPP 03.01.05 – Posting Flyer Information On Outside University Kiosks
        MAPP 09.03.01 – Event Reservations and Rental of University Facilities
        Freedom of Expression Campus Map (Addendum A)
        Expressive Activity Description Form




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                                                    UNIVERSITY of HOUSTON
                                         MANUAL OF ADMINISTRATIVE POLICIES AND PROCEDURES


SECTION:       General Information                                   Number:    01.05.01
AREA:          Legal Affairs


       SUBJECT:        Freedom of Expression


                                                  Addendum A: Campus Map




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